         Case 1:19-cr-00250-DCN Document 14 Filed 11/13/19 Page 1 of 1




CRIMINAL PROCEEDINGS - Change of Plea/ Notice of Sentencing

       UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO

Judge: David C. Nye                                Date: November 13, 2019
Case No. CR 19-250-DCN                             Deputy Clerk: Pamela Fulwyler
Place: Boise, ID                                   Court Reporter: Katherine Eismann
Time: 9:00 am – 9:20 am

                     UNITED STATES OF AMERICA v LOIS M. SOITO

Counsel for United States (AUSA – Darci Crane / Kevin Maloney
Counsel for Defendant – Edward Dindinger
Probation - n/a
Interpreter: n/a

(X)    Court stated history of the case.
(X)    Defendant sworn for examination by the Court.
(X)    Court finds the defendant competent to enter plea.
(X)    Defendant satisfied with the representation of his attorney.
(X)    Sentencing Guidelines explained.
(X)    Defendant advised of Constitutional Rights & Right to Counsel & JURY TRIAL.
(X)    Indictment furnished to defendant.
(X)    Court advised defendant of Maximum Penalties.
(X)    At the request of the Court, Counsel for the Government stated for the record the
elements and evidence of the charge. The defendant understands the elements and evidence of
the charge and agrees with the Government=s statement.
(X)    Court reviewed the Plea Agreement.
(X)    Defendants right to appeal explained.
(X)    Defendant withdrew previous plea of NOT GUILTY and entered a GUILTY Plea to
Counts Nine and Ten of the Indictment and agreed to the Forfeiture. Court accepts plea, and
plea agreement taken UNDER ADVISEMENT pending review of the Pre-sentence. Report.
(X) Government to move to dismiss Counts One-Eight at sentencing.

Sentencing set: February 21, 2020 at 11:00 am
(X) Court ordered a presentence investigation report.
                    Original report to Counsel:       01/10/2020
                    Notification of Objections:       01/24/2020
                    Final Report Due:                 02/07/2020


(X) Defendant released pending sentencing with all previous conditions remaining in effect.
